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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO
                                     BOISE DIVISION

LISA WISE,                                    )
                                              )        Case No.: 1:12-cv-389
               Plaintiff,                     )
                                              )
       v.                                     )
                                              )       VERIFIED COMPLAINT
G. REYNOLDS SIMS &                            )
ASSOCIATES, P.C.,                             )       (Unlawful Debt Collection Practices)
                                              )
               Defendant.                     )

                            PLAINTIFF’S VERIFIED COMPLAINT

       LISA WISE (“Plaintiff”), through attorney, ROBERT C. MONTGOMERY, alleges the

following against G. REYNOLDS SIMS & ASSOCIATES, P.C. (“Defendant”):

                                        INTRODUCTION
       1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

Act, 15 U.S.C. 1692 et seq. (“FDCPA”).

                                JURISDICTION AND VENUE
       2.      Jurisdiction of this Court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court without

regard to the amount in controversy.”

       3.      Defendant conducts business in the state of Idaho; therefore, personal jurisdiction is

established.

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       4.         Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                                PARTIES

       5.         Plaintiff is a natural person residing in Pocatello, Bannock County, Idaho.

       6.         Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according

to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

       7.         Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and

sought to collect a consumer debt from Plaintiff.

       8.         Plaintiff is informed and believes, and thereon alleges, that Defendant is a collections

business with an office in Troy, Michigan.

       9.         Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                     FACTUAL ALLEGATIONS
       10.        Within the past year, Defendant places collection calls to Plaintiff seeking and

demanding payment for an alleged debt.

       11.        Defendant places collection calls to Plaintiff’s telephone number 208-221-3446.

       12.        Defendant calls Plaintiff’s telephone and requests Plaintiff to place a return call to

877-632-2945, extension 5518, a number belonging to Defendant.

       13.        Defendant left a message on Plaintiff’s answering machine and failed to provide

meaningful disclosure of the callers’ identity. Defendant also failed to indicate that Defendant was a

debt collector.


                                       COUNT I:
                           DEFENDANT VIOLATED THE FAIR DEBT
                               COLLECTION PRACTICES ACT
       14.        Defendant violated the FDCPA based on, but not limited to, the following:

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                a.   Defendant violated §1692d of the FDCPA by engaging in conduct the
                     natural consequence of which is to harass, oppress, or abuse any person
                     in connection with the collection of a debt;

                b.   Defendant violated §1692d(6) of the FDCPA through the placement of
                     calls without meaningful disclosure of the caller’s identity;

                c.   Defendant violated § 1692e of the FDCPA through the use of false,
                     deceptive, or misleading representation or means in connection with the
                     collection of any debt; and

                d.   Defendant violated §1692e(11) of the FDCPA through the failure to
                     state in communications with a consumer in connection with the
                     collection of a debt that the communication is from a debt collector and
                     that any information obtained will be used for that purpose.

       WHEREFORE, Plaintiff, LISA WISE, respectfully requests judgment be entered against

Defendant, G. REYNOLDS SIMS & ASSOCIATES, P.C.., for the following:


       15.      Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15

U.S.C. 1692k;

       16.      Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. 1692k; and

       17.      Any other relief this Court deems appropriate.



                                              RESPECTFULLY SUBMITTED,

                                              By: /s/ Robert C. Montgomery
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                                              Idaho SBN: 1793
                                              Ph: (208) 322-8865
                                              Attorney for Plaintiff




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                                  PLAINTIFF’S VERIFIED COMPLAINT
